                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


    BETSY ACKERSON,

                                  Plaintiff,
            v.
                                                          Civil Action: 3:17-cv-00011-NKM
    THE RECTOR AND VISITORS OF THE
    UNIVERSITY OF VIRGINIA,

                                  Defendants.


                      STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Betsy Ackerson and

  Defendants The Rector and Visitors of the University of Virginia, as evidenced by the respective

  signatures of counsel below, STIPULATE AND AGREE that Plaintiff’s Complaint, including

  any and all amendments thereto, and any and all claims and causes of action, are hereby

  dismissed with prejudice as to all parties, with each party to bear her or their own costs and

  attorneys’ fees.


                                                        Respectfully submitted,


                                                               /s/ Adam Augustine Carter
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 23, 2018, I electronically filed the foregoing with the

  Court using the CM/ECF system, which served a copy on the following:



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